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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on May 3, 2018

UNITED STATES OF AMERICA : CRIMINAL NO.
V. :; GRAND JURY ORIGINAL
LAWRENCE PAUL SCHMIDT, : VIOLATIONS:

: 18 U.S.C. § 1344 (Bank Fraud)
Defendant. : ' 18 U.S.C. § 1343 (Wire Fraud)
: 18 U.S.C. § 1957 (Engaging in Monetary
Transactions in Property Derived From
Specified Unlawful Activity)
FORFEITURE ALLEGATION:
18 U.S.C. § 982(a)(2)(A); 18 U.S.C.
§ 981(a)(1)(C); 18 U.S.C. § 982(a)(1); 21
U.S.C. § 853(p); and 28 U.S.C. § 2461(c)
INDICTMENT
The Grand Jury charges that:
At all times material to this Indictment:
Introduction
1. Defendant LAWRENCE PAUL SCHMIDT (“SCHMIDT”) was a resident of the
District of Columbia. Defendant SCHMIDT was not licensed to sell securities and was not
registered with the Securities and Exchange Commission in any capacity.
2. Commercial Equity Partners, Ltd. (“CEP”) was a Delaware corporation formed in
May 2008. CEP was a commercial real estate investment company with expertise in property

acquisition, mortgage note trust deeds, and purchases of property tax liens. CEP solicited investors

for real estate, mortgage trust deed notes, and tax lien notes. Defendant SCHMIDT was a Director
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of CEP. CEP maintained business bank accounts at Bank of America (account numbers
XXXXXXXX7926 and XxXxXxxxxx7939).

3. FutureGen Company d/b/a FutureGen Capital (“FGC”) was a Delaware corporation
formed in September 2009. FGC solicited investors for investment opportunities in property tax
lien certificates, secured commercial mortgage notes, and multi-family properties. Defendant
SCHMIDT was the sole Director of FC. FGC maintained business bank accounts at Bank of
America (account number xxxxxxxx5060) and SunTrust Bank (account number xxxxxxxxx7517).

4, CEP became FGC in October 2010, at which time FGC absorbed CEP’s employees,
who continued to service both CEP and FGC investors.

5. Following the creation of CEP and FGC, Defendant SCHMIDT created various
investment funds related to these entities.

6. FGC Tax Lien Fund #2, LLC (“FGC TLF”) was a Delaware limited liability
company formed in August 2011. FGC TLF maintained a business bank account at Bank of
America (account number xxxxxxxx4268).

7. FGC Servicing Limited (“FGC SL”) was a Nevada corporation formed in August
2013. Defendant SCHMIDT was an Officer of FGC SL. FGC SL maintained a business bank
account at Bank of America (account number xxxxxxxx5438).

8. FGC SPE No. 1 LLC (“FGC SPE”) was a Delaware limited liability company
formed in November 2012. FGC SPE maintained a business bank account at Bank of America
(account number xxxxxxxx5392),

9. Futuregen Capital DDA CG Fund LLC (“FGC DDA”) was a Delaware limited
liability company formed in August 2010. Defendant SCHMIDT was the Registered Agent in
Charge, the Operating Manager, and the Secretary. FGC DDA maintained a business bank account

at Bank of America (account number xxxxxxxx5433).
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10. | FGC CM Note Fund LLC (“FGC CM NOTE”) was a Nevada limited liability
company formed in May 2013. Defendant SCHMIDT was the sole Officer of FC CM NOTE.
FGC CM NOTE maintained a business bank account at Bank of America (account number
XXXXXXXX5810).

11. FGC Distressed Assets Investment #1, LLC (“FGC DAT’) was a Delaware limited
liability company formed in May 2010. Defendant SCHMIDT was the Operating Manager. FGC
DAI maintained a business bank account at Bank of America (account number xxxxxxxx4706).

12. Company A maintained a business bank account at Citibank (account number
XXXXX7330). All checks issued by Company A bear signatures.

13. Bank of America and SunTrust Bank were financial institutions as defined in Title
18, United States Code, Section 20, with branches in the District of Columbia and elsewhere, with
deposits insured by the Federal Deposit Insurance Corporation.

The Scheme to Defraud

14. _ Beginning in or about January 15, 2014, and continuing through in or about
April 11, 2014, within the District of Columbia and elsewhere, Defendant SCHMIDT, did commit
offenses against the United States, to wit:

a. knowingly executed and attempted to execute a scheme and artifice to
defraud, two financial institutions, to wit, Bank of America and SunTrust Bank, which were
financial institutions with deposits insured by the Federal Deposit Insurance Corporation, and to
obtain $623,050 in money owned by and under the custody and control of Bank of America and
SunTrust Bank by means of materially false and fraudulent pretenses, representations, and
promises, in violation of Title 18, United States Code, Section 1344(1) (bank fraud); and

b. knowingly engaged in and attempted to engage in monetary transactions,

that is, the withdrawal and transfer of funds and monetary instruments, in and affecting interstate
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commerce, by, through, and to financial institutions, in criminally derived property that was of a
value greater than $10,000, and that was derived from specified unlawful activity, that is, bank
fraud, in violation of Title 18, United States Code Section 1344(1), in violation of Title 18, United
States Code, Section 1957.

Object of the Scheme

15. An object of the scheme and artifice to defraud was for Defendant SCHMIDT to
fraudulently obtain monies, funds, and credits from, and in the custody and control of, Bank of
America and SunTrust Bank to repay earlier investors, to repay expenses, and for his own benefit
and use and the benefit and use of others.

Manner and Means of the Scheme

16. The allegations set forth in paragraphs 1 through 15 of this Indictment are realleged
and incorporated by reference.

17. Between in or about June 2008 and April 2014, Defendant SCHMIDT, through
CEP and FGC, and their related entities including FGC TLF, FGC SL, FGC SPE, FGC DDA, FGC
CM NOTE, and FGC DAI, raised over $22 million from approximately 200 investors in the United
States and elsewhere. Funds raised from investors were comingled and transferred between and
amongst CEP and FGC entities to cover whichever expenses were due at the time.

18. Ofthe over $22 million raised from investors, less than $11 million was placed into
investment products. Defendant SCHMIDT instead used new investor funds to repay earlier
investors, to pay himself approximately $1.4 million in salary, and to pay $1.3 million in personal
expenses, including automobile expenses, mortgage and rent payments for multiple residences,
and sports ticket purchases.

19, The U.S. Securities and Exchange Commission (“SEC”) initiated an investigation

into CEP and FGC. As part of its investigation, the SEC subpoenaed Defendant SCHMIDT for
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documents and records related to both CEP and FGC. On November 13, 2013, the SEC deposed
Defendant SCHMIDT and asked him questions about both CEP and FGC. The SEC also contacted
investors of CEP and FGC.

20. Beginning in at least January 2014, CEP and FGC related bank accounts had
insufficient funds to pay investors and expenses.

21. | Beginning on or about January 15, 2014, continuing through on or about March 31,
2014, Defendant SCHMIDT re-deposited previously deposited and cleared COMPANY A checks
into CEP and FGC related bank accounts. Defendant SCHMIDT transferred these funds to related
CEP and FGC bank accounts, and to pay investors and expenses.

22. | Beginning on or about February 26, 2014, continuing through on or about April 4,
2014, Defendant SCHMIDT created fraudulent and forged COMPANY A checks, which instead
of being signed, had a stamp in the signature area which read, “signature on file.”

23. Defendant SCHMIDT deposited these fraudulent and forged COMPANY A checks
into CEP and FGC related bank accounts. Defendant SCHMIDT then transferred these funds to
related CEP and FGC bank accounts, and in order to pay investors and expenses.

24. On March 11, 2014, Individual A, a financial advisor who had referred investors to
CEP and FGC, sent an email to Defendant SCHMIDT requesting an official communication from
CEP and FGC outlining various topics, including the SEC investigation, multiple cease and desist
orders, a personal bankruptcy filing, and company financial statements.

25. On March 21, 2014, Individual A sent an email to Defendant SCHMIDT stating
“*...here are redemptions you should be planning for in the very very [sic] near term (ASAP)...”
Individual A listed nine investors, whose combined account balances totaled over $1.9 million.
The combined balance between all of CEP’s and FGC’s bank accounts on March 21, 2014, was

approximately $8,600.
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26. On April 8, 2014, Defendant SCHMIDT sent an email to Individual A, which
contained a letter signed by Defendant SCHMIDT on FGC letterhead addressing the concerns
Individual A had raised in the March 11, 2014 email. In the letter, Defendant SCHMIDT
downplayed the severity of the SEC investigation by stating that is was related to a complaint that
CEP was accepting a number of non-accredited investors beyond the SEC guidelines. Defendant
SCHMIDT also attempted to distance himself from CEP by referring to CEP as “they” throughout
the letter, even though Defendant SCHMIDT had sole control over CEP, including the bank
accounts. In the letter Defendant SCHMIDT also stated, “I was fully aware of the CEP inquiry
and had been supplying documents to the SEC and working with CEP’s attorneys. However, I was
surprised by the FGC inquiry.” At the time this letter was written, Defendant SCHMIDT had
already been subpoenaed for records related to both CEP and FGC, and had also been deposed by
the SEC approximately six months prior, where he was asked questions about both CEP and FGC.
Defendant SCHMIDT also stated that, “We have made it a little more complicated than maybe it
should have been as we have set up entities for many of our different various investments. For
asset protection and to avoid comingling of various investment opportunities, we have nine entities
in total.” Despite having nine entities to avoid the comingling of funds, Defendant SCHMIDT
used the different fund bank accounts to move money around and pay back earlier investors from
one fund with new investor money from a separate fund. To conclude the letter, Defendant
SCHMIDT continued to minimize the SEC investigation by referring to it as an informal
investigation and stated that his company was in good standing and good financial health.
Defendant SCHMIDT knew that neither CEP nor FGC were in good financial -health at the time
this letter was written, considering the two CEP bank accounts had a total combined balance of
approximately negative $28,400 and the various FGC fund accounts only had a combined total of

approximately $70,500.
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27. On April 10, 2014, Defendant SCHMIDT sent a letter to FGC employees and
investors, which stated, among other things, “It is with a sad heart that I have made the decision to
close down FutureGen Capital...”

28. Also on April 10, 2014, Defendant SCHMIDT boarded a one-way flight from the
United States to London. Prior to fleeing the country, Defendant SCHMIDT wrote two letters —
one for his wife and one for his god-daughter. The letters were similar and both stated “At this
point in my life I have three choices, suicide, prison more than likely or to try and start over and
make right by everyone.”

29. On April 11, 2014, Defendant SCHMIDT sent an e-mail to the FGC accountant,
which stated, “I went through the book [sic] and we owe investors like $13Mil and only have about
$7Mil in Assets, I don’t know how I let it get to this...I have to figure out a way to make this
money back, but so much pressure. I feel like I have failed everyone...We have assets but I can’t
be trusted to manage this. I am so overwhelmed and need to to [sic] help sort all this out.”

30. Among the manner and means by which Defendant SCHMIDT carried out the
objectives of the scheme and artifice to defraud to fraudulently obtain monies, funds, and credits
from Bank of America and SunTrust Bank, Defendant SCHMIDT re-deposited previously
deposited and cleared COMPANY A checks into CEP and FGC related bank accounts, were the

following financial transactions:

 

 

Date Duplicate Amount Deposit Bank Deposit
(on or about) Check Deposit Account Location
January 15, 2014 Check #1286921, $12,443.64 | FGC Bank of Bank of America

originally deposited America account | ATM,
on July 22, 2013 into ending in 5060 Washington,
FGC Bank of D.C.
America account
ending in 5060

 

 

 

 

 

 

 
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Date Duplicate Amount Deposit Bank Deposit
(on or about) Check Deposit Account Location

January 15,2014 | Check #1298605, $2,639.64 | FGC Bank of Bank of America
originally deposited America account | ATM,
on August 21, 2013 ending in 5060 Washington,
into FGC Bank of D.C.
America account
ending in 5060

January 15,2014 | Check #5624076, $8,982.60 | FGC TLF Bank | Bank of America
originally deposited of America ATM,
on August 19, 2013 account ending | Washington,
into FGC TLF Bank in 4268 D.C.
of America account
ending in 4268

January 15,2014 | Check #5663416, $17,946.56 | FGC TLF Bank | Bank of America
originally deposited of America ATM,
on December 2, 2013 account ending Washington,
into FGC TLF Bank in 4268 D.C.
of America account
ending in 4268

January 15,2014 | Check #5663418, $510.00 FGC TLF Bank | Bank of America
originally deposited of America ATM,
on December 2, 2013 account ending | Washington,
into FGC TLF Bank in 4268 D.C.
of America account
ending in 4268

January 17, 2014 Check #1299155, $6,972.02 | FGC Bank of Bank of America
originally deposited America account | ATM,
on August 23, 2013 ending in 5060 Washington,
into FGC Bank of D.C.
America account
ending in 5060

January 27,2014 | Check #26849, $6,245.33 | FGC Bank of Bank of America
originally deposited America account | ATM,
on September 3, 2013 ending in 5060 Washington,
into FGC Bank of D.C.
America account
ending in 5060

January 27, 2014 Check #26850, $1,062.17 | FGC Bank of Bank of America
originally deposited America account | ATM,
on September 3, 2013 ending in 5060 Washington,
into FGC Bank of D.C.

 

America account
ending in 5060

 

 

 

 

 
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Date Duplicate Amount Deposit Bank Deposit
(on or about) Check Deposit Account Location

January 28,2014 | Check #710748, $7,976.85 | CEP Bank of Bank of America
originally deposited America account | ATM,
on November 5, 2012 ending in 7939 Washington,
into CEP Bank of D.C.
America account
ending in 7939

January 28, 2014 Check #5660981, $551.14 CEP Bank of Bank of America
originally deposited America account | ATM,
on December 2, 2013 ending in 7939 Washington,
into CEP Bank of D.C.
America account
ending in 7926

February 12,2014 | Check #3282, $4,981.10 | FGC Bank of Bank of America
originally deposited America account | ATM,
on December 2, 2013 ending in 5060 Washington,
into FGC SL Bank of D.C.
America account
ending in 5438

February 12, 2014 | Check #3352, $9,442.26 | FGC Bank of Bank of America
originally deposited America account | ATM,
on January 14, 2014 ending in 5060 Washington,
into FGC SL Bank of D.C.
America account
ending in 5438

February 12,2014 | Check #3348, $8,484.87 | FGC Bank of Bank of America
originally deposited America account | ATM,
on January 14, 2014 ending in 5060 Washington,
into FGC SL Bank of D.C.
America account
ending in 5438

February 12,2014 | Check #5675637, $300.00 FGC Bank of Bank of America
originally deposited America account } ATM,
on January 14, 2014 ending in 5060 Washington,
into FGC Bank of D.C.
America account
ending in 5060

February 12,2014 | Check #1192372, $284.35 FGC Bank of Bank of America
originally deposited America account | ATM,
on January 14, 2014 ending in 5060 Washington,
into FGC Bank of D.C.

 

America account
ending in 5060

 

 

 

 

 
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Date Duplicate Amount Deposit Bank Deposit
(on or about) Check Deposit Account Location

February 12,2014 | Check #5683172, $300.00 FGC Bank of Bank of America
originally deposited America account | ATM,
on February 6, 2014 ending in 5060 Washington,
into FGC Bank of D.C.
America account
ending in 5060

February 12,2014 | Check #1202757, $133.81 FGC Bank of Bank of America
originally deposited America account | ATM,
on February 6, 2014 ending in 5060 Washington,
into FGC Bank of D.C.
America account
ending in 5060

February 25, 2014 | Check #051283, $922.12 CEP Bank of Bank of America
originally deposited America account | ATM,
on February 7, 2014 ending in 7926 Washington,
into CEP Bank of D.C.
America account
ending in 7926

February 26, 2014 | Check #1251787, $7,899.05 | FGC Bank of Bank of America
originally deposited America account | ATM,
on December 10, ending in 5060 Washington,
2012 into FGC Bank D.C.
of America account
ending in 5060

February 26, 2014 | Check #1290144 $4,251.45 | FGC Bank of Bank of America
originally deposited America account | ATM,
on July 3, 2013 into ending in 5060 Washington,
FGC TLF Bank of D.C.
America account
ending in 4268

March 25, 2014 Check #8999 $8,817.20 | FGC Bank of Bank of America
originally deposited America account | ATM,
on December 4, 2013 ending in 5060 Washington,
into FGC SL Bank of D.C.
America account
ending in 5438

March 25, 2014 Check #1198 $9,621.20 | FGC Bank of Bank of America
originally deposited America account | ATM,
on December 6, 2013 ending in 5060 Washington,
into FGC SL Bank of D.C.

 

America account
ending in 5438

 

 

 

 

 
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of America account

Date Duplicate Amount Deposit Bank Deposit
(on or about) Check Deposit Account Location
March 31, 2014 Check #049297 $1,124.90 | CEP Bank of Bank of America
originally deposited America account | ATM,
on December 6, 2012 ending in 7926 Washington,
into FGC TLF Bank D.C.
of America account
ending in 4268
March 31, 2014 Check #050295 $1,942.33 | CEP Bank of Bank of America
originally deposited America account | ATM,
on September 17, ending in 7926 Washington,
2013 into CEP Bank D.C.

 

ending in 7926

 

 

 

 

31. | Among the additional manner and means by which Defendant SCHMIDT carried

out the objectives of the scheme and artifice to defraud to fraudulently obtain monies, funds, and

credits from Bank of America and SunTrust Bank, Defendant SCHMIDT also created fraudulent

and forged COMPANY A checks, which instead of being signed, had a stamp in the signature area

which read, “signature on file.’ Defendant SCHMIDT deposited these fraudulent and forged

COMPANY A checks into CEP and FGC related bank accounts, including the following

 

 

 

 

 

 

transactions:
Date Forged | Amount | Deposit Bank Account Deposit Location
(on or about) Check
Number

February 26, 2014 | 1645902 | $90,000 | FGC CM Note Bank of | Bank of America ATM,
America account Washington, D.C.
ending in 5810

March 31, 2014 1645905 | $55,000 | FGC Sun Trust account | SunTrust ATM,
ending in 7517 Washington, D.C.

March 31, 2014 1645906 | $65,000 | FGC Sun Trust account | SunTrust ATM,
ending in 7517 Washington, D.C.

April 1, 2014 201567 $15,800 | CEP Bank of America | Bank of America mobile
account ending in 7939 | application,

Washington, D.C.
April 1, 2014 201589 $285,000 | FGC TLF Bank of Bank of America ATM,

 

 

 

 

America account
ending in 4628

 

Washington, D.C.

 

 

 
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Date Forged | Amount | Deposit Bank Account Deposit Location
(on or about) Check
Number
April 2, 2014 202789 $13,500 | FGC CM Note Bank of | Bank of America mobile
America account application,
ending in 5810 Washington, D.C.
April 2, 2014 202655 $12,000 | FGC SPE Bank of Bank of America mobile
America account application,
ending in 5392 Washington, D.C.
April 2, 2014 202891 $12,500 | FGC DDA Bank of Bank of America mobile
America account application,
ending in 5433 Washington, D.C.
April 2, 2014 1645907 | $14,000 | CEP Bank of America | Bank of America mobile
account ending in 7926 | application,
Washington, D.C.
April 2, 2014 202783 $16,500 | FGC DAI Bank of Bank of America mobile
America account application,
ending in 4706 Washington, D.C.
April 3, 2014 202533 $14,500 | FGC SPE Bank of Bank of America ATM,
America account Washington, D.C.
ending in 5392
April 3, 2014 202568 $15,250 | FGC DDA Bank of Bank of America ATM,
America account Washington, D.C.
ending in 5433
April 4, 2014 202988 $14,000 | FGC DDA Bank of Bank of America ATM,
America account Washington, D.C.
ending in 5433
32. Following Defendant SCHMIDT’s re-deposits of previously deposited and cleared

COMPANY A checks and deposits of fraudulent and forged COMPANY A checks into CEP and

FGC related bank accounts, he transferred these funds to related CEP and FGC bank accounts to

repay earlier investors, to repay expenses, and for his own benefit and use and the benefit and use

of others.

33.

and incorporated by reference.

COUNT ONE
(Bank Fraud)

The allegations set forth in paragraphs | through 32 of this Indictment are realleged

 
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34. Beginning on or about January 15, 2014, continuing through on or about April 4,
2014, within the District of Columbia and elsewhere, Defendant SCHMIDT knowingly executed
and attempted to execute a scheme and artifice to defraud, a financial institution, to wit, Bank of
America, which was a financial institution with deposits insured by the Federal Deposit Insurance
Corporation, and to obtain approximately $403,050.00 in money owned by and under the custody
and control of Bank of America by means of materially false and fraudulent pretenses,
representations, and promises.

(Bank Fraud, in violation of Title 18, United States Code, Section 1344(1))

COUNT TWO
(Bank Fraud)

35. The allegations set forth in paragraphs | through 32 of this Indictment are realleged
and incorporated by reference.

36. On or about March 31, 2014, within the District of Columbia and elsewhere,
Defendant SCHMIDT knowingly executed and attempted to execute a scheme and artifice to
defraud, a financial institution, to wit, SunTrust Bank, which was a financial institution with
deposits insured by the Federal Deposit Insurance Corporation, and to obtain approximately
$120,000 in money owned by and under the custody and control of SunTrust Bank by means of
materially false and fraudulent pretenses, representations, and promises.

(Bank Fraud, in violation of Title 18, United States Code, Section 1344(1))

COUNT THREE
(Wire Fraud)

37. Theallegations set forth in paragraphs 1 through 32 of this Indictment are realleged
and incorporated by reference.
38. Beginning in or about January 15, 2014, and continuing through in or about

April 11, 2014, within the District of Columbia and elsewhere, Defendant SCHMIDT knowingly
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devised a scheme to defraud Bank of America, and to obtain money and property of Bank of
America by means of materially false and fraudulent pretenses, representations, and promises.

39. On or about the date set forth below, in the District of Columbia and elsewhere,
Defendant SCHMIDT, for the purpose of executing the aforementioned scheme and artifice, did

transmit and cause to be transmitted by means of wire communication in interstate commerce the

following writings, signs, signals, and sounds:

 

 

 

 

 

 

 

Date Duplicate Amount Deposit Bank Bank of America
(on or about) Check Deposit Location and ATM Deposit
Account Processing
Location
January 15, 2014 | Check #1286921, $12,443.64 | Bank of America From Washington,
originally deposited ATM, Washington, | D.C. to computer
on July 22, 2013 D.C. deposit into servers located
into FGC Bank of FGC Bank of outside of
America account America account Washington, D.C.
ending in 5060 ending in 5060

 

 

(Wire Fraud, in violation of Title 18, United States Code, Section 1343)

COUNT FOUR
(Wire Fraud)

40. The allegations set forth in paragraphs 1 through 32 of this Indictment are realleged
and incorporated by reference.

41. Beginning in or about January 15, 2014, and continuing through in or about
April 11, 2014, within the District of Columbia and elsewhere, Defendant SCHMIDT knowingly
devised a scheme to defraud SunTrust Bank, and to obtain money and property of SunTrust Bank
by means of materially false and fraudulent pretenses, representations, and promises.

42. On or about the date set forth below, in the District of Columbia and elsewhere,
Defendant SCHMIDT, for the purpose of executing the aforementioned scheme and artifice, did
transmit and cause to be transmitted by means of wire communication in interstate commerce the

following writings, signs, signals, and sounds:
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Date Forged | Amount Deposit Bank SunTrust Bank ATM
(on or about) Check Location and Account Deposit Processing
Number Location
March 31, 2014 1645905 | $55,000 | SunTrust ATM, From Washington, D.C.
Washington, D.C. to computer servers
deposit into FGC Sun | located outside of
Trust account ending in | Washington, D.C.
7517

 

 

 

 

 

 

 

(Wire Fraud, in violation of Title 18, United States Code, Section 1343)
COUNTS FIVE THROUGH TEN
(Engaging in Monetary Transactions in Property Derived
from Specified Unlawful Activity)

43. The allegations set forth in paragraphs 1 through 32, 34, 36, 38-39, and 41-42 of
this Indictment are realleged and incorporated by reference.

44, On or about the dates and in the amounts specified below, in the District of
Columbia and elsewhere, Defendant SCHMIDT did knowingly engage and attempt to engage in
the following monetary transactions, by, through, or to a financial institution, affecting interstate
commerce, in criminally derived property of a value greater than $10,000, that is, by causing the
following checks, initiated from and drawn on FGC Bank of America bank accounts to be
deposited into other FGC Bank of America bank accounts, or withdrawn as cash from an FGC

Bank of America bank account, such proceeds having derived from a specified unlawful activity,

that is bank fraud and wire fraud.

 

Count | Onor About Date Amount Financial Transaction

 

Five April 2, 2014 $12,000 Check #2501 drawn on FGC SPE Bank of
America account ending in 5392 deposited into
FGC Bank of America account ending in 5060

 

Six April 2, 2014 $12,200 Check #1009 drawn on FGC DDA Bank of
America account ending in 5433 deposited into
FGC Bank of America account ending in 5060

 

Seven April 3, 2014 $10,000 Cash withdrawal from FGC CM Note Bank of
America account ending in 5810

 

 

 

 

 

 
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Count | On or About Date Amount Financial Transaction

 

Eight April 3, 2014 $14,000 . | Check #2502 drawn on FGC SPE Bank of
America account ending in 5392 deposited into
FGC Bank of America account ending in 5060

 

Nine April 3, 2014 $15,000 Check #1011 drawn on FGC DDA Bank of
America account ending in 5433 deposited into
FGC Bank of America account ending in 5060

 

Ten April 4, 2014 $13,000 Check #1012 drawn on FGC DDA Bank of
America account ending in 5433 deposited into
FGC Bank of America account ending in 5060

 

 

 

 

 

 

(Engaging in Monetary Transactions in Property Derived from
Specified Unlawful Activity, in violation of Title 18, United States Code, Section 1957)

FORFEITURE ALLEGATION

1. Upon conviction of either of the offenses alleged in Count One and/or Count Two,
the defendant shall forfeit to the United States any property constituting or derived from, proceeds
obtained directly or indirectly, as a result of these offenses, pursuant to 18 U.S.C. § 982(a)(2)(A).
The United States will also seek a forfeiture money judgment against the defendant equal to the
value of any property constituting or derived from, proceeds obtained directly or indirectly, as a
result of these offenses.

2. Upon conviction of any of the offenses alleged in Counts One through Count Four,
the defendant shall forfeit to the United States any property, real or personal, which constitutes or
is derived from proceeds traceable to these offenses, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28
U.S.C. § 2461(c). The United States will also seek a forfeiture money judgment against the
defendant equal to the value of any property, real or personal, which constitutes or is derived from
proceeds traceable to these offenses.

3. Upon conviction of any of the offenses alleged in Count Five through Count Ten,
the defendant shall forfeit to the United States any property, real or personal, involved in such

offenses, or any property traceable to such property, as a result of these offenses, pursuant to 18
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U.S.C. § 982(a)(1). The United States will also seek a forfeiture money judgment against the
defendant equal to the value of any property, real or personal, involved in such offenses, or any
property traceable to such property, as a result of these offenses, pursuant to 18 U.S.C. § 982(a)(1).

4, If any of the property described above as being subject to forfeiture, as a result of

any act or omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

C has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property that cannot be divided without
difficulty;

the defendant shall forfeit to the United States any other property of the defendant, up to the
value of the property described above, pursuant to 21 U.S.C. § 853(p).

(Criminal Forfeiture, pursuant to Title 18, United States Code, Section 982(a)(2)(A), Title
18, United States Code, Section 981(a)(1)(C), Title 28, United States Code,
Section 2461(c), Title 18, United States Code, Section 982(a)(1), and
Title 21, United States Code, Section 853(p))

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Attorney of the United States in
and for the District of Columbia
